UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------)(
A VI & CO NY CORP.,
                                                                      Case No.: l :22-cv- l 0599 (PAE) (SLC)
                                         Plaintiff,
                                                                      DECLARATION OF KAREN ALI IN
                  -against-                                           OPPOSITION TO DEFENDANT'S
                                                                      MOTION FOR CHANGE OF VENUE
CHANNELADVISOR CORPORATION,

                                         Defendant.
-----------------------------------------------------------------)(
    KAREN ALI, declares, pursuant to 28 U.S.C. § 1746, under penalty of perjury, that the

following is true and correct:

    l. I am currently Director of Operations at Avi & Co NY Corp. (hereinafter "Avi & Co") and

have been employed by Avi & Co since in or about February 2022.

    2. I respectfully submit this Declaration in opposition to the Defendant's Motion for Change

of Venue ("Motion"), and to supply this Court with exhibits relevant to its determination of the

Motion.

    3. This affidavit is based upon my own personal knowledge, conversations with other Avi &

Co employees, and a review of business records maintained by Avi & Co.

    4. As is evident by the five (5) contracts and agreements submitted by the Defendant

ChannelAdvisor Corporation (hereinafter "Defendant" or "ChannelAdvisor"), Joe Cohen

(hereinafter "Mr. Cohen"), my predecessor, signed each and every agreement in his capacity as

"Director of Operations" at Avi & Co.

    5. Mr. Cohen separated from employment with Avi & Co in or about December 2021.

    6. His last known address, as maintained by the personnel records of A vi & Co, was in Long

Island City, New York, located within Queens County.




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   7. Because he is no longer employed by Avi & Co, I am informed that his testimony must be

compelled.

   8. The Raleigh courthouse of the United States District Court for the Eastern District of North

Carolina, Western Division, is located at 310 New Bern Avenue, Raleigh, NC 27601.

   9. A search on Google Maps from Mr. Cohen's last known address to the North Carolina

federal courthouse is more than five hundred (500) miles away. See copy of Google Maps print-

out showing the distance between Mr. Cohen's last known address and the North Carolina court

is 510 miles annexed hereto as Exhibit "A," which has been highlighted for convenience.

    I 0. A portion of Mr. Cohen's address has been redacted for privacy purposes.

   11. I am informed by my counsel that Rule 45 of the Federal Rules of Civil Procedure generally

prohibits a court from issuing a subpoena that would compel a non-party witness to travel more

than one hundred (I 00) miles.

   12. Mr. Cohen is a crucial witness in this case.

    13. He was flown out by the Defendant to their headquarters in North Carolina, and had

numerous discussions with the Defendant concerning the services they purport to provide.

    14. Moreover, the documentary evidence in Avi & Co's possession readily establishes that Mr.

Cohen was dissatisfied with the services provided because they did not work as advertised from

early on when Avi & Co first entered into an agreement with ChannelAdivsor in or about January

2019. See copies of various e-mail exchanges for the time period of April 2019 and July 2019

between Mr. Cohen and Defendant annexed hereto as Exhibit "B," which has been highlighted

for convenience.

    15. I am advised that these e-mails are business records of A vi & Co, as such e-mails with

vendors are regularly made and kept in the ordinary course of Avi & Co's business.




                                             2
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    16. l have attempted to contact Mr. Cohen but have been unabl e to ascerta in whether he would

w illingly participate as a witness in this case.

    17. To the best of my knowledge, Mr. Cohen secured employment elsewhere and is unlikely

to be able to travel to No rth Carolina w ithout being adversely impacted .

    18. I understand that certain witnesses on ChannelAdvisor's end res ide in North Caro lina.

    19. Avi & Co is willing to conduct any such w itnesses ' depos itions remotely in an effort to

ease the burden on any employee's or agents of Channe!Advisor.

    20. Further, to the extent this Court permits it, Avi & Co has no objection to the appearance of

any such w itnesses by virtual means at trial.

        I declare under penalty of perjury that the foregoing is true and correct. Executed on April

6 _, 2023.


                                                      Katen At/
                                                      Karen Ali (Apr 6, 2023 15:11 EDT)

                                                      KAREN ALI




                                                 3
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         EXHIBIT A
Case 5:23-cv-00255-M-BM Document 24 Filed 04/06/23 Page 4 of 27
                                          •     27th St, Queens, NY 11101 to 31O New Bern     Drive 510 miles, 9 hr 3 min
    Go gle Maps                           Ave, Raleigh, NC 27601

    .............
            . .°"""''
    , . ...,..   c
                ...            ...?




                                                                                                  o gle

                                                                                    Map data Q2023 Google   50 mi..__ _ _ ___.


-                    27th St                           n This route has tolls.
Queens. NY 11101


Get on 1-495 W from Jackson Ave and 21st St
                                                                  7 min (1.0 mi)
        t            1.     Head southwest on 27th St toward 42nd Rd
                                                                         0.1 mi
      +-)             2.    Turn left onto 43rd Ave
                                                                          256 ft
      r               3.   Turn right at the 1st cross street onto J ackson Ave
                                                                         0.4 mi
       +-)            4.   Turn left onto 2 1st St
                                                                         0.2 mi
        ~             5.    Take the Interstate 495 W ramp on the left
                           Toll road
                                                                         0.1 mi


Take 1-95 S, NJ Tpke S, 1-95 S, Baltimore-Washington Pkwy,
... and US-64 W to Hammond Rd in Raleigh. Take exit 299
from 1-40 W
                                                            7 hr 50 min (507 mi)




                               Case 5:23-cv-00255-M-BM Document 24 Filed 04/06/23 Page 5 of 27
~     6.      Merge onto 1-495 W
           Toll road
                                                              O 1 mi
t     7       Continue onto Queens Midtown Tunnel
           Toll road
                                                              1.2 mi
t     8.      Continue onto 1-495 W/ Queens Midtown Tunnel
           Toll road
                                                              338 ft
      9.      Use the middle 2 lanes to take the 37 St exit toward
              Crosstown
           Toll road
                                                              0.1 mi
~     10.      Merge onto E 37th St
      II Pass by CityMD East 37th Urgent Care- NYC (on
      the right)
                                                              1 .1 mi
~     11 .     Turn left to merge onto NY-495 W
                                                              0.2 mi
'('   12.      Keep right at the fork to stay on NY-495 W
             Parts of this road may be closed at certain times or
      days
      0 Entering New Jersey
                                                              0.9 mi
t     13.      Continue onto NJ-495 W
             Parts of this road may be closed at certain times or
      days
                                                              2.8 mi
+-,   14.      Keep left to stay on NJ-495 W
                                                            0.5 mi
~     15.      Take the 1-95 S/ NJ Turnpike South exit on the left
               toward Newark
             Toll road
                                                              0.7 mi
~     16.      Merge onto 1-95 S
             Toll road
                                                              5.6mi
+-,   17.      Keep left to stay on 1-9 5 S
           Toll road
                                                             550 mi
t     18       Continue onto NJ Tpke S
           Toll road
                                                             48.8 mi
'('   19.      Keep right at the fork to stay on NJ Tpke S
           Toll road
                                                              1.9 mi

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t     20.      Continue onto US-40 W/ NJ Tpke S
            Toll road
                                                            O.Smi
~     21 .     Merge onto 1-295 S
      n      Tollroad
      11 Entering Delaware
                                                                7.3m i
"\    22.      1-295 S turns slightly left and becomes 1-95 S
                                                                8.3 mi
'Y    23 .     Keep left at the fork to stay on 1-95 S
      [ ) Toll road
      II Entering Maryland
                                                           43.Smi
'(I   24.      Keep right at the fo rk to stay on 1-95 S
                                                                6.8mi
fl    25.      Keep right at the fork to continue on 1-895 S,
               follow signs for Baltimore Harbor Tunnel
               Thru way/ Annapolis
      n      Tollroad
                                                                8.7mi
'Y    26.      Keep left at the fork to stay on 1-895 S
             Toti road
                                                                1.8 mi
rt    27.      Take exit 4 to merge onto MD-295 S toward Bait
               Pkwy/ Bwi Airport
                                                                9.3 mi
t     28 .     Continue onto Baltimore-Washington Pkwy
                                                            18.6 mi
t     29 .     Continue onto MD-201
                                                                0.3mi
t     30.      Continue onto State Hwy 295
      II Entering District of Columbia
                                                                4.7 mi
t     31 .     Continue onto Anacostia Fwy/ Kenilworth Ave
               Fwy
                                                                0 .1 mi
?     32.      Anacostia Fwy/ Kenilworth Ave Fwy turns slightly
               right and becomes 1-295 S/ Anacostia Fwy S
      II Entering Maryland
                                                                5.2 mi
~     33.      Ta ke exit 1C to merge onto 1-495 S/ 1-95 S toward
               Richmond
      II Passing through District of Columbia
      II Entering Virginia
                                                                7.9 mi


                Case 5:23-cv-00255-M-BM Document 24 Filed 04/06/23 Page 7 of 27
 ')    34.      Keep left at the fork to continue on 1-95 S, follow
                signs for Richmond
                                                                18.9 mi
 t     35.      Continue onto 1-95 S
                                                                76.8 mi
 ')    36.      Keep left at the fork to stay on 1-95 S
       B Entering North Carolina
                                                                 118 mi
 rt    37.      Take exit 138 to merge onto US-64 W toward
                Nashville
                                                                34.8 mi
 t     38.      Continue onto 1-87/ US-64 W
                                                                10.2 mi
 ~     39 .     Use the left 2 lanes to take the 1-87 S/ 1-440 E exit
                toward 1-40/ US-64 W/ Durham/ Benson
                                                                 0.8mi
 1'.   40.      Merge onto 1-440 E/1-87 / US-64 W
                                                                 2.6mi
 t     41 .     Continue onto 1-40 W/ US-64 W
                                                                 2.0mi
 rt 42. Take exit 299 toward Person St
                                                                 0.3mi

Take S Person St to New Bern Ave
                                                          4 min (1.7 mi)
 1'.   43 .     Merge onto Hammond Rd
                                                                 0.5mi
 t     44.      Continue onto S Person St
              Parts of this road may be closed at certain times or
       days
                                                                 1.2 mi
 ~     45.      Turn right onto New Bern Ave
                                                                  295 ft




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            EXHIBITB
Case 5:23-cv-00255-M-BM Document 24 Filed 04/06/23 Page 9 of 27
From:                  Joshua Hailey
To:                    Joe Cohen
Cc:                    Nick Castillo
Subject:               Re: FOLLOW UP - Magenta 2 Connector
Date:                  Monday, April 22, 2019 2:12:46 PM
Attachments:           image.png


Joe-

I'd love to j ump on a call w ith Stefan to discuss with you--what does your week look like?

-Josh

On Mon, Apr 22, 20 19 at I :48 PM Joe Cohe n <Joe@aviandco.com> wrote:
  Hello,


  It's been almost 2 weeks since I've reached out about our current marketplace hold up.
  Can I please get some assistance here ...


  Best Regards,


       .JtO                   Joe Cohen
                              Director of Operation s, Avi & Co.
                              T: (212)354-1 808
                              E: jo~@pvia dco co
                              W: www.aviandco.com
                              15 W 47th St. Suite 200, New York NY 10036




  From : Nick Castillo <nick.castjllo@channeladvisor.com>
  Sent: Tuesday, April 9, 2019 11:10 AM
  To: Joe Cohen; Joshua Hailey
  Subject: Re: Magenta 2 Connector


  Hi Joe,


  Let me confer with @Joshua Hailey on this and get back to you.


  Regards,
  Nick Castillo
  Cl1em Strategy Manager, t>larketplace Services
  9 19.SS2.o7J 5- office
  3025 Carrington Mill Boulevard
  Morrisville I North Carolina f 27560
  www.channeladvisor.com



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  On Tue, Apr 9, 2019 at 10:35 AM Joe Cohe n <Joe@aviandco.com> wrote:
     Hello Nick,


     Hope all has been well wi th you and your son.
     I don't know if you are the right contact for this or not, but I was hoping you can guide me in
     the right direction.


     Since I've initially reached out to Channel Advisor to become partners, to even when I fl ew
     down t o personally meet with the team,
     I have emphasized t remendously the fact that Avi & Co. will be sitting on a Magenta 2
     website by the end of April.
     I was informe d by Randy recently t hat it is j ust coming to light NOW that you guys don't
     have a way to connect to Magenta 2.


     She has informed me that there is a Magenta 2 connector extension t hat you
     recommended which you wan t us to buy and install to our website,
     I am willing to to do that if I get reimbursed for the cost of the extension pl us the charges
     that my web developer will charge me for install ing it.
     I t hi nk there is absolutely no reason for to pay out of pocket for this con nector, since t his
     enti re time I have spoken about using Magenta 2 and was never informed of this before.


     Please let me know how we can proceed forward wi th this, because we've been held up by
     this for a while now and Id like to continue making progress.
     I look forward to hea ring back from you.
     Best Regards,


         .JtO                 Joe Cohen
                              Director of Operations, Avi & Co.
                              T: (212)354-1 808
                              E: joe@aviandco.co.m
                              W: www.aviandco.com
                              15 W 47th St. Suite 200, New York NY 10036




Have you seen our latest blog post? Always updated and always relevant... cltek Jrere.1

Joshua Hailey
Manager. Client Seffices




     Case 5:23-cv-00255-M-BM Document 24 Filed 04/06/23 Page 11 of 27
3025 Cirrington :).fill Boule' Jrd
>lorri:;\ille I :\orth C<trnlina I rsbo
919 228 .r-9 office
919 757 200.J mobile
lnline image 1




We've Moved! Note Our New Address:
3025 Carrington Mill Boulevard
Monisville I North Carolina I 27560

www cbannelady1sor com - Be Seen




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From:             Stefan Guy
To:               Joe Cohen
Subject:          Re: Call follow up
Date:             Monday, May 13, 2019 7:36:47 PM
Attachments:      ATIOOOOl png


Yes, I spoke with him earlier - I' ll be meeting with him in the morning to review that fi le.

Part of the process is mapping the various data attributes based on the format of w here the data
will be coming from (I.e. Jewel Mate). This allows for a stream lined and smooth flow of the
data each time you make edits etc.

Do yo u have a data fi le yo u can send from Jewel Mate? When [meet tomorrow they will
confirm the process of using that initial data file which I w ill then relay to you.

Also, I' ll be speaking with your new Account Manager to bring her up to speed and ideally
introduce the two of you .



On Mon, May 13, 20 19 at 6:21 PM Joe Cohen <Joe@aviandco.com> wrote:
  Hello Stefan,


  Just following up, on our previous email.
  Have you gotten in touch with Nick? Are you ab le to get access of the data f ile sheet?
  Please keep me updated so we can keep things moving with no more delays.
  Thank you.


  Best Regards,


      .JtO             Joe Cohen
                       Director of Operations, Avi & Co.
             R         T: (212)354-1808
                       E: j_oe@aviandco.com
                       W: www.aviandco.com
                       15 W 47th St. Suite 200 New York NY 10036




  From : Joe Cohen
  Sent: Monday, May 13, 2019 2:48:15 PM
  To: Stefan Guy
  Subject: Re: Call follow up


  Hello Stefan,


  Thank you for your time as well.



      Case 5:23-cv-00255-M-BM Document 24 Filed 04/06/23 Page 13 of 27
 My colleague Randy, has already sent th is sheet over to Nick, maybe you shou ld reach out
 to him to get it?
 I know he's already been working on it.


 Best Regards,


   .JtO              Joe Cohen
                     Director of Operations, Avi & Co.
                     T: (212)354-1808
                     E: joe@aviandco.com
                     W: www.aviandco.com
                     15 W 4 7th St Suite 200 New York NY 10036

                     llD g g


 From: Stefan Guy <stefan .guy@ channeladvisor.com>
 Sent: Monday, M ay 13, 2019 2:20 :58 PM
 To: Joe Cohen
 Subject: Call follow up

 Joe,

 Appreciate your time for today's call - The conservative time frame I received was 1 week
 once data is provided.

 Please send me the data file you mentioned you are currently using. What we really need is
 the data file that wi ll be sent from Jewel Mate - Is that available?

 l'll fo llow up this email with the work flow overviews, call recap, and anything else needed
 to have the fastest path.

 Stefan Guy
 Account Executive




 o: 984.228 .2790
 Named # 1 Marketplace Management Provider 2011-2019
                                    [g


Stefan Guy
Account Executive




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0:984.228.2790
Named# 1 Marketplace Management Provider 2011-2018

                           •




   Case 5:23-cv-00255-M-BM Document 24 Filed 04/06/23 Page 15 of 27
From:             Stefan Guy
To:               ~
Subject:          Re: Call follow up
Date:             Wednesday, May 29, 2019 2:21:50 PM
Attachments:      ATTOQOOl.png


Good afternoon Joe,

Which months (#) are yo u referring too?

On Wed, May, 29, 20 19 at I :46 PM Joe Cohen <Joe@avjandco.com> wrote:
  Hello Stefan,


  Hope this email finds you well.
  Just following up with our monthly charges.
  We received our June t o July statement and I am just wondering when we will be reimbu rsed for
  the previous months as we prior discussed.
  Looking forwa rd to hearing back from you.


  Best Regards,


     .JtO              Joe Cohen
                        Director of Operations, Avi & Co.
                       T: (212)354-1808
                       E: joe@fill.@ndco.com
                       W: www.aviandco.com
                       15 W 47th St Suite 200 New York NY 10036




  From: Stefan Guy <stefan.guy@channeladvjsor com>
  Sent: Thursday, May 16, 2019 1:03:12 PM

  To: Joe Cohen
  Subject: Re: Call follow up

  Joe,

  N ick met with Randy yesterday and sound alike they mapped out the best path fo rward.

  I' ll plan to coordinate a call next week to introduce the new AM.

  On Wed, May 15, 20 19 at 4:54 PM Joe Cohen <Joe@ av jandco.com> wrote:
    Hello Stefan,


    Just following up on when I will be introduced to our new account manager.
    Looking forward to heari ng back from you.


    Best Regards,



    Case 5:23-cv-00255-M-BM Document 24 Filed 04/06/23 Page 16 of 27
  .JtO               Joe Cohen
                     Director of Operations, Avi & Co.
                     T: (212)354-1808
                     E: ioe@aviandco.com
                     W: www.aviandco.com
                     15 W 47tb St Sujte 200 New York NY 10036




From: Stefan Guy <stefan .guy@channeladvisor.com>
Sent: Tuesday, May 14, 2019 1:53:00 PM

To: Joe Cohen
Subject: Re: Call follow up

Joe,

Nick has a call with Randy tomorrow and wi ll be reaching out to him today regarding the data.

On Mon, May 13, 20 19 at 7:38 PM Joe Cohen <Joe@aviandco.com> wrote:
 Thank you for the update.
 Looking forward to being in touch tomorrow.
 Have a great rest of your evening.

  Joe Cohen
  Director of Operations I Avi & Co.

  (2 12)354-1808
  joe@aviandco com
  www ,aviandco.com
   15 W 4 7th St, Suite 200. New York NY 10036



  From: Stefan Guy <stefan.guy@ channe ladyisor,com>
  Sent: Monday, May 13, 2019 7:36 PM
  To : Joe Cohen
  Subject: Re : Call fol low up

  Yes, 1 spoke with him earlier - I' ll be meeting with him in the morning to review that tile.

  Part of the process is mapping the various data attributes based on the format of where the data
  will be coming from (I.e. Jewel Mate). This allows for a streamlined and smooth flow of the
  data each time you make edits etc.

  Do you have a data fil e you can send from Jewel Mate? When I meet tomorrow they will
  confirm the process of using that initial data tile which r will then relay to you.

  Also, I' ll be speaking with your new Account Manager to bring her up to speed and ideally
  introduce the two of you.



Case 5:23-cv-00255-M-BM Document 24 Filed 04/06/23 Page 17 of 27
 On Mon, May 13, 20 19 at 6:21 PM Joe Cohen <Joe@avjandco.com> wrote :
  Hello Stefan,


  Just following up, on our previous email.
  Have you gotten in touch with Nick? Are you able to get access of the data file sheet?
  Please keep me updated so we can keep th ings moving with no more delays.
  Th ank you.


  Best Regards,


     .JtO               Joe Cohen
                        Director of Operations, Avi & Co.
                        T: (212)354-1808
                        E: joe@aviandco.com
                        W: www.aviandco.com
                        15 W 47th St Suite 200 New York NY 10036




  From: Joe Cohen
  Sent: Monday, May 13, 2019 2:48:15 PM
  To: Stefan Guy
  Subject: Re: Ca ll fo llow up


   Hello Stefan,


  Thank you for your t ime as well.
   My col league Randy, has already sent this sheet ove r to Nick, maybe you shou ld reach out
  to him to get it?
   I know he's already been working on it.


   Best Regards,


      JtO               Joe Cohen
                        Director of Operations, Avi & Co.
            H           T: (2 12)354-1808
                        E: jo__e@allifilldco.com
                        W : www.aviandco.com
                        15 W 47th St Suite 200 New York NY 10036




  From: Stefan Guy <stefan .guy@channeladvjsor.com >
  Sent: Monday, May 13, 2019 2:20:58 PM
  To: Joe Cohen




Case 5:23-cv-00255-M-BM Document 24 Filed 04/06/23 Page 18 of 27
    Subject: Call follow up


    Joe,

    Appreciate your time for today's call - The conservative time frame I received was 1 week
    once data is provided.

    Please send me the data file you mentioned you are currently using. What we really need is
    the data file that will be sent from Jewel Mate - Is that available?

    I'll fo llow up this emai l with the work flow overviews, call recap, and anything else needed
    to have the fastest path.

    Stefan Guy
    Account Executive




    o: 984.228.2790
    Named# I Marketplace Management Provider 2011-2019
                                     tS

  Stefan Guy
  Account Executive




  0:984.228.2790
  Named #1 Marketplace Management Provider 2011-2018
                                   B



 Stefan Guy
 Account Executive




 0:984.228.2790
 Named #1 Marketplace Management Provider 2011-2018
                                .B


Stefan Guy


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 Account Executive




 0 :984.228.2790
 Named #1 Marketplace Management Provider 2011-2018
                             ~


Stefan Guy
Account Executive




0 :984. 228 .2790
Named #1 Marketplace Management Provider 2011-2018
                           ~




   Case 5:23-cv-00255-M-BM Document 24 Filed 04/06/23 Page 20 of 27
From:             Stefan Guy
To:               Joe Cohen
Subject:          Re: Phone Call Recap 6/19
Date:             Wednesday, June 19, 2019 5:51:34 PM


Hey Joe,

Appreciate your time as we ll.

I' ll fo llow up with you on the phone tomorrow. What time works best for you?

On Wed, Jun 19, 2019 at 5:21 PM Joe Cohen <Joe@aviandco.com> wrote:
  Hello Stefan,


  Thank you for taking the time to jump on a phone cal l earli er today.
  I'd li ke to just recap some of the major points from our discussion earlier.


  Market Places:
  - 5 Months into contract and only on month 5 we are making progress on mapping out
  connectivity soluti ons from our ERP to Channel Advisor Platform.
  - No other result s or performance made.


  Marketin€ Mana€ement:
  - 5 months passed, very weak ROI on Ad Spend.
  - Not seeing Google Ads on any relative watch terms including Watch Brand or Watch
  Models


  I look forward to hearing back from you, after your conference meeting with all those
  involved with the Avi & Co. account.


  Best Regards,


     .JtO               Joe Cohen
                        Director of Operations, Avi & Co.
                       T: (2 12)354-1808
                       E: joe@aviao~_@,_com
                       W: www.aviandco.com
                       15 W 4 7th St Suite 200. New York NY 10036




Stefan Guy
Account Executive



    Case 5:23-cv-00255-M-BM Document 24 Filed 04/06/23 Page 21 of 27
0:98 4 .228. 2790
Named # 1 Marketplace Management Provider 2011-2018
                            d




   Case 5:23-cv-00255-M-BM Document 24 Filed 04/06/23 Page 22 of 27
From:             Joshua Hailey
To:               Joe Cohen
Subject:          Re: Revision of Agreement
Date:             Wednesday, July 31, 2019 11:52:57 AM
Attachments:      jmage.png


Joe-

We are reviewing your communication internally, and will reach out to you quickly with next
steps from our perspective.

-Josh

On Mon, Jul 29, 20 19 at LI :45 AM Joe Cohen <Joe@aviandco.com> wrote:
  Dear Joshua,


  After careful ana lysis of the services that were outlined in the PDF named "AviandCo_Scope
  of Services Breakdown_l.15.19.pdf'', and our agreement, it is evident that we have not
  received the services that we had contracted ChannelAdvisor for. We are also dissatisfied
  with the services that we have received and find them to be unacceptable. Avi & Co. is no
  longer interested in receiving Marketing Services from ChannelAdvisor and requests that all
  services related to Marketing Services be stopped effective immediately. We request
  that ChannelAdvisor revise our Agreement immediately to remove the Marketing Services .
 The August 1st payment cannot be made un t il the agreement is revised according to what
  we have written above.


  Kindly confirm in writing via return email that you will comply with our request.


  Below, you wi ll f ind an explanation of the services that we should have con tractual ly
  recei ved (and did not) as well as commenta ry on the quality of the services that we fo un d
  unacceptable.
  If you would like an elaboratio n on any of these point s, please don 't hesitate to contact me.


  (As per the PDF AviandCo_Scope of Services Breakdown_l.15.19.pdf)
  Managed Services: Digita l Marketing
  • Inventory data-feed setup an d en ha ncements
  •Optimize content for higher rankings
  Avi & Co. Comments: Our rankings have not improved since the beginning of our contract.
  As of July 1st, only 4 keywords appeared in the top 100 positions of Google. We have re-
  hired our previous SEO specialist who, within 3 weeks, was ab le to get many of our
  keywords into top 100 positions of Google.


  • St rea ml ine campa igns to increase engagement
  Avi & Co. Comm ents: We have not seen an increase in engagement.



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• Basel ine tracking, category mapping, promot ional updates and removal of poor
performing
products
• Setup of URL tracking and assistance with pixe l implementation
Avi & Co . Comments: We have never received a report showing that URL tracking was being
done.


• Keyword coverage on all selected products, cat egories and brands
• Application of bid-management best practices
• Frequent audit of landing pages and trademark violations
Avi & Co . Comment s: It is 100% clear that our pages have not been audited . One of the
obvious signs of this has been all of the "disallowed" ads that Google AdWords reported .
Incorrect URLs have been used many times. Even with the change in URL structure that took
place approximately 3 weeks ago (i.e. changing .htm l pages to pages ending with a slash), all
previous .html pages were redirected to their corresponding new URLs. So it would not have
mattered if the page referenced in the ads pointed to the .html version of the page as they
would have been redirected to the correct pages.


• Weekly status call and report delivery
• Qua rterly account planning
• Comprehensive data and ana lyt ics
• Understand how each of your SKUs is performing across channels
• Optimize your product data t o imp rove finda bi lity, visibility and traffic quality
Avj & Co . Comment s: We cannot see any sign of the product data being 'improved for
findabi lity, visibility and traffic qua lity'.


• Manage costs and uncove r revenue-increasing opportu nities
Avi & Co. Com ments: We have found the opposite true. We have found that a good portion
of our ad budget was spent unnecessarily. Case in point is the fact there was little to no
focus on prompting calls to our site. In Marcus' discussion with Dan Globus 2 weeks ago,
Ma rcus stated that prompting calls to Avi & Co. was not a primary focus of his campaigns
and he did agree that it should have been .


• Customize your listings and ads for different devices
• Track buyer behavior to bette r underst and the clicks that lead to conversions
• Compare your perfor mance against yo ur competitors'
• Use predictive analytics to place the best bids for each keyword

Additional Observations and Comments :
First ly, pr ior to ChannelAdvisor, we had an independent contractor who was a certified
Google Ad's special ist who man aged our AdWords account.


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When coming into agreement with ChannelAdvisor, it was of the obvious ass umption that a
company of your scale would be able to generate a lot more results than a single
independent con tractor had for our com pany. Sadly, we were mistaken. We have been in
agreement for 5 months now and the expected results have yet to be met.


Secondly, by the Terms on our Agreement, it was understood that our Ads account would
be "Fully Managed" in w hich it was not. Marcus, is a great individual but it is clear that his
skill level is Intermediate with Google Ad's. There was no criti cal thinking applied to any of
our campaigns. Many of the wrong keywords were being used. And, almost none of the
proper keywords were used in any of our campaigns. I had to assign a member of my team
to create several different document spreads of each watch brand/model and each of its
corresponding keywords for Marcus to use as a template to map out his campaign
strategy. If my company has to do all the leg work then this really isn't a "Fully Managed"
service.


Thirdly, our SEO speciali st Dan and I have been overlooking ou r AdWord s account to track
performance and results and I must say it was quite upsetting to see how unprofessional
Marcus's planning was. I've attached a few screenshots to show the kind of campaign titles
he was produci ng.
    • The titles were very poorly written. There are sma ll issues that make a difference. For
      examp le, not capitalizing th e first letters of the "rich ard mi lie" name is not acceptabl e.
    • Using a statement li ke "Shop Luxury Watch On line" sou nds like it was written by
      someone who speaks English as a second language.
    • Capita lizing each word is something that might be done in the descriptions that
      appear under organic listings, but is not used by any of the bi names when running
      Google Ads.
   • Most important ly, I don't find the ads "compe lling". They don't make me want t o shop
      at Avi & Co. They don't establish Avi & Co. as THE compa ny that I want to buy Richard
      Mille from . What I mean by this is that from a true advertisement point of view,
      where you're trying to convin ce people to click on the ads, these ads fail.


Lastly ju st to clarify, we've spent over $90,000 in had Ad Spend, as well as $20,500 for your
"M ark eti ng Management Fee" over t he past 5 months.
This totals to $110,500 spent since we've been in agreement. I must ask myself based of
these results whether our RO I has been meet. I respectfu lly have to say NO.


Thus concludes the reasons that Avi & Co. is no longer interested in receiving anymore
marketing management se rvices from Cha nnelAdvisor and wou ld like to revise our
Agreement effective immediately.


I look forward to hearing your feedback and how we go about revising ou r agreement.




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   Best Rega rd s,


       .J t O                  Joe Cohen
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Manager, Client Services


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We've Moved! Note Our New Address:
3025 Carrington Mill Boulevard
Morrisville I North Carolina I 27560

www channeladvisor com - Be Seen




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 2020-04-06 FINAL Declaration of Ali
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